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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO


Criminal Case No. 1:20CR00131-RM-01

UNITED STATES OF AMERICA,

       Plaintiff,

vs.

Juan Carlos CRUZ MANCHA,

       Defendant.


ORDER REGARDING VIOLATION(S) OF CONDITIONS OF SUPERVISED RELEASE



       THIS MATTER is before the Court upon request by the probation officer to

initiate revocation proceedings due to violation(s) of the conditions of supervision.


       HAVING considered the probation officer's petition, the Court

        ORDERS the issuance of an arrest warrant.

        ORDERS the issuance of a summons.

        DENIES the request.


          DATED at Denver, Colorado, this           day of March, 2022.

                                          BY THE COURT:



                                            Raymond P. Moore
                                            United States District Judge
